              Case 3:17-cv-05806-RJB Document 320 Filed 10/04/19 Page 1 of 3
                                                                         The Honorable Robert J. Bryan

 1

 2

 3

 4

 5

 6

 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT TACOMA
 9   STATE OF WASHINGTON,                                  Case No. 3:17-cv-05806-RJB
10                       Plaintiff,                        DEFENDANT THE GEO GROUP,
                                                           INC.'S RESPONSE TO ORDER RE:
11   v.                                                    PROPOSED ORDER (DKT. 306)
12   THE GEO GROUP, INC.,
13                       Defendant.
14

15                This Court's September 24, 2019 order invited the parties "to point out errors, if any,"

16   in the Court's Proposed Order granting summary judgment to The GEO Group, Inc. Doc.

17   306. This Court's Proposed Order was based on a simple syllogism: (1) under United States

18   v. California, 921 F.3d 865, 882 n.7 (9th Cir. 2019), "federal government contractors are

19   treated the same as the federal government for purposes of immunity analysis," Doc. 306-1 at

20   7; (2) "[t]he State now urges that GEO be required to pay the state minimum wage to GEO

21   detainees, but does not propose to pay the state minimum wage to its own detainees," id. at 8;

22   therefore, (3) "[t]he State's request, if granted, would discriminate against GEO (and through

23   GEO, against the United States) by creating an economic burden on GEO, a government

24   contractor, that is not placed on the State," id.

25                In twenty-four pages of briefing relying on nine declarations, the State disputes

26   neither premise of this Court's holding: it concedes, as it must, that United States v.

27   California instructed that "'federal contractors are treated the same as the federal government

                                                                              AKERMAN LLP
     DEFENDANT THE GEO GROUP, INC.'S RESPONSE
     TO ORDER RE: PROPOSED ORDER (DKT. 306)                               1900 Sixteenth Street, Suite 1700
                                                                              Denver, Colorado 80202
     (3:17-CV-05806-RJB) – PAGE 1                                            Telephone: 303-260-7712
     50385319;1
              Case 3:17-cv-05806-RJB Document 320 Filed 10/04/19 Page 2 of 3



 1   itself' for purposes of intergovernmental immunity," see Doc. 308 at 10–11 (quoting United
 2   States v. California, 921 F.3d at 882 n.7),1 and it concedes that the "MWA does not apply" to
 3   the State's detainees in its own institutions, see id. at 6. Once those two premises are
 4   conceded, this Court's conclusion that the State's minimum-wage law discriminates against
 5   the Federal Government necessarily follows.
 6                The State has failed to point to any error in this Court's straightforward
 7   intergovernmental-immunity analysis, and there is no basis for revisiting this Court's holding
 8   in its Proposed Order. This Court should therefore enter its Proposed Order and dismiss this
 9   case.
10                Respectfully submitted, this 4th day of October, 2019.
11                                               By: s/ Colin L. Barnacle
                                                 AKERMAN LLP
12                                               Colin L. Barnacle (Admitted pro hac vice)
                                                 Christopher J. Eby (Admitted pro hac vice)
13                                               Ashley E. Calhoun (Admitted pro hac vice)
                                                 1900 Sixteenth Street, Suite 1700
14                                               Denver, Colorado 80202
                                                 Telephone: (303) 260-7712
15                                               Facsimile: (303) 260-7714
                                                 Email: colin.barnacle@akerman.com
16                                               Email: christopher.eby@akerman.com
                                                 Email: ashley.calhoun@akerman.com
17

18
                                                 By: s/ Joan K. Mell
19                                               III BRANCHES LAW, PLLC
                                                 Joan K. Mell, WSBA #21319
20                                               1019 Regents Boulevard, Suite 204
                                                 Fircrest, Washington 98466
21                                               Telephone: (253) 566-2510
                                                 Facsimile: (281) 664-4643
22                                               Email: joan@3brancheslaw.com
23                                               Attorneys for Defendant The GEO Group, Inc.
24

25
     1
       The State's description of note 7 in U.S. v. California is misleading. The footnote makes clear that “‘federal
26   contractors are treated the same as the federal government itself’ for purposes of intergovernmental immunity,”
     in the immigration context and cites specifically to the INS statutory language allowing for detention in both
27   federal and privately contracted facilities. Id. at at 882 n.7.

                                                                                   AKERMAN LLP
     DEFENDANT THE GEO GROUP, INC.'S RESPONSE
                                                                               1900 Sixteenth Street, Suite 1700
     TO ORDER RE: PROPOSED ORDER                                                   Denver, Colorado 80202
     (3:17-CV-05806-RJB) – PAGE 2                                                 Telephone: 303-260-7712
     50385319;1
              Case 3:17-cv-05806-RJB Document 320 Filed 10/04/19 Page 3 of 3



 1                                          PROOF OF SERVICE
 2                I hereby certify on the 4th day of October, 2019, pursuant to Federal Rule of Civil
 3   Procedure 5(b), I electronically filed and served the foregoing DEFENDANT THE GEO
 4   GROUP, INC.'S RESPONSE TO ORDER RE: PROPOSED ORDER (DKT. 306) via
 5   the Court's CM/ECF system on the following:
 6   OFFICE OF THE ATTORNEY GENERAL
     Marsha J. Chien
 7   Andrea Brenneke
     Lane Polozola
 8   Patricio A. Marquez
     800 Fifth Avenue, Suite 2000
 9   Seattle, Washington 98104
10   Attorneys for Plaintiff
11

12                                                    s/ Ashley Calhoun
                                                      Ashley Calhoun
13

14

15

16

17

18
19

20

21

22

23

24

25

26

27
                                                                          AKERMAN LLP
     PROOF OF SERVICE                                                 1900 Sixteenth Street, Suite 1700
     (3:17-CV-05806-RJB) – PAGE 3                                         Denver, Colorado 80202
                                                                         Telephone: 303-260-7712
     50385319;1
